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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                               )
                                                       )
               v.                                      )
                                                       )     Docket No. 1:24-cr-10071-FDS
ERIC TABARO NSHIMIYE,                                  )
                                                       )
                       Defendant.                      )


        GOVERNMENT’S SUPPLEMENTAL OPPOSITION TO DEFENDANT’S
                    “MOTION IN SUPPORT OF BOND”

       The United States of America, by and through undersigned counsel, hereby submits this

supplemental opposition to Defendant’s Motion and Memorandum in Support of Bond. [D.18].

The government has just received a transcript of the detention hearing held in the Northern

District of Ohio and attaches it as Exhibit 1. The transcript makes clear several points:

           •   The Court had the benefit of 102 pages of letters in support from the family and

               friends of the defendant. See Exhibit 1 at 12, 36.

           •   The courtroom was at capacity at the time of the detention hearing because of the

               presence of family and friends of the defendant. Id. at 13.

           •   The Court considered both risk of flight and danger to the community. Id. at 9,

               34.

           •   The defendant proffered two potential third party custodians as part of a release

               proposal. Id at 14-15, 33. The defendant also proffered other measures to assure

               the defendant’s appearance. Id. at 32




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       In finding that the defendant was a risk of flight, the Court found particularly compelling

that Nshimiye admitted on cross-examination at the trial of Jean Leonard Teganya that he had

provided false information in his asylum application. As the Court noted,

                These false statements were about where he was born, his father's
                death, and where he went to school. These seemingly minor things
                disturb the Court as to why someone would lie about things that
                are seemingly minor but also things that you would never forget.
                And it leads to a conclusion that you lied about them to hide
                something. And if he would lie about these things to hide them to
                get here, it is hard for the Court to say that he would not do similar
                acts of deception and lying and fleeing to keep himself from going
                back to the place that he worked hard to run away from.

Id. at 40-41.

       This transcript of the detention hearing in the Northern District of Ohio amply supports

the government’s argument that the Court should summarily dismiss the instant motion.

                                                       Respectfully submitted,

                                                       JOSHUA S. LEVY
                                                       Acting United States Attorney

                                               By:     s/John T. McNeil
                                                      JOHN T. McNEIL
                                                      AMANDA BECK
                                                      Assistant U.S. Attorneys




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                                 CERTIFICATE OF SERVICE

Suffolk, ss.:                                          Boston, Massachusetts
                                                         April 29, 2024

I, John T. McNeil, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      s/John T. McNeil
                                                       JOHN T. McNEIL




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